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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO


UNITED STATES OF AMERICA,

                  Plaintiff,
                                                       No. 19-cv-01930
             v.

$53,082,824.19 IN U.S. CURRENCY,

                  Defendant.




          BANCO SAN JUAN INTERNACIONAL’S REPLY IN SUPPORT
                 OF ITS MOTION TO LIFT RESTRICTIONS


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TO THE HONORABLE COURT:

         COMES NOW, Banco San Juan Internacional, Inc. (“BSJI”), by and through its

undersigned attorneys, respectfully files this reply in respect to its motion to lift restrictions (Dkt.

71). 1

         It its opposition, the government no longer seeks to restrict the documents corresponding

to Docket Entries 23, 51, 53, 55, 57, and 61 and in fact now requests that they be lifted. The parties

are thus in agreement.

         BSJI and the government have consulted regarding the remaining Docket Entries in

question (Nos. 17, 26, and 59). They endeavor to provide the Court with redacted versions of these

submissions consistent with the practices of the court so that the redacted copies can be placed on

the public docket.

         WHEREFORE, BSJI respectfully prays that the Court lift the restrictions as to the

documents corresponding to Docket Entries 23, 51, 53, 55, 57, and 61. In the interim, the

government and BSJI will consult and endeavor to provide the Court with redacted documents of

Docket Nos. Nos. 17, 26, and 59 to be placed on the public docket.




Dated: December 16, 2019




1
    By Order dated December 10, 2019, this Court granted BSJI the right to file a reply.
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/s/ Guillermo Ramos Luiña                   /s/ Abbe David Lowell
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